                           United States District Court
                         Western District of North Carolina
                                Statesville Division

        Elizabeth Lee Harman,          )             JUDGMENT IN CASE
                                       )
              Plaintiff(s),            )              5:20-cv-00172-GCM
                                       )
                  vs.                  )
                                       )
   Commissioner of Social Security ,   )
           Defendant(s).               )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered.

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 2, 2021 Order.

                                               November 2, 2021




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